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                               UNITED STATES DISTRICT COURT
                                Northern District Court of New York

DEBORAH LAUFER, Individually,                        :
                                                     :
               Plaintiffs,                           :
                                                     :
v.                                                   :   Case No. 5:20-CV-0348 (BKS/ML)
                                                     :
JAI DEV, INC.,                                       :
                                                     :
               Defendant.                            :




                                           COMPLAINT
                             (Injunctive Relief And Damages Demanded)

       Plaintiff, DEBORAH LAUFER, Individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

JAI DEV, INC. (sometimes referred to as “Defendant”), for Injunctive Relief, and attorney’s fees,

litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. ' 12181

et seq. (AADA”), and damages pursuant to the New York State Human Rights Law, NYS Exec.

Law Section 296(2)(a) ("NYSHRL").

       1.              Plaintiff is a resident of Alachua County, Florida, is sui juris, and qualifies

as an individual with disabilities as defined by the ADA. Plaintiff is unable to engage in the major

life activity of walking more than a few steps without assistive devices. Instead, Plaintiff is bound

to ambulate in a wheelchair or with a cane or other support and has limited use of her hands. She

is unable to tightly grasp, pinch and twist of the wrist to operate. Plaintiff is also vision impaired.

When ambulating beyond the comfort of her own home, Plaintiff must primarily rely on a

wheelchair. Plaintiff requires accessible handicap parking spaces located closest to the entrances

of a facility. The handicap and access aisles must be of sufficient width so that she can embark and
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disembark from a ramp into her vehicle. Routes connecting the handicap spaces and all features,

goods and services of a facility must be level, properly sloped, sufficiently wide and without

cracks, holes or other hazards that can pose a danger of tipping, catching wheels or falling. These

areas must be free of obstructions or unsecured carpeting that make passage either more difficult

or impossible. Amenities must be sufficiently lowered so that Plaintiff can reach them. She has

difficulty operating doorknobs, sink faucets, or other operating mechanisms that tight grasping,

twisting of the wrist or pinching. She is hesitant to use sinks that have unwrapped pipes, as such

pose a danger of scraping or burning her legs. Sinks must be at the proper height so that she can

put her legs underneath to wash her hands. She requires grab bars both behind and beside a

commode so that she can safely transfer, and she has difficulty reaching the flush control if it is on

the wrong side. She has difficulty getting through doorways if they lack the proper clearance.

       2.              Plaintiff is an advocate of the rights of similarly situated disabled persons

and is a "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

determining whether places of public accommodation and their websites are in compliance with

the ADA.

       3.              Defendant JAI DEV, INC., is a domestic corporation who owns and/or

operates a place of public accommodation as defined by the ADA and the regulations

implementing the ADA, 28 CFR 36.201(a) and 36.104. The place of public accommodation that

the Defendant owns is a place of lodging known as the Quality Inn & Suites Fairgrounds and is

located at 100 Farrell Road – Building A, Syracuse, NY 13209 and is located in the County of

Onondaga (hereinafter "Property").




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       4.              Venue is properly located in the Northern District Court of New York

because the Defendant's hotel is located in this district.

       5.              Pursuant to 28 U.S.C. ' 1331 and 28 U.S.C. ' 1343, this Court has been given

original jurisdiction over actions which arise from the Defendant=s violations of Title III of the

Americans with Disabilities Act, 42 U.S.C. ' 12181 et seq. See also 28 U.S.C. ' 2201 and ' 2202.

                                 Count I - Violation Of The ADA

       6.      Plaintiff realleges paragraphs 1-5 as if set forth fully hereunder.

       7.      As the owner of the subject place of lodging, Defendant is required to comply with

the ADA. As such, Defendant is required to ensure that it's place of lodging is in compliance with

the standards applicable to places of public accommodation, as set forth in the regulations

promulgated by the Department Of Justice. Said regulations are set forth in the Code Of Federal

Regulations, the Americans With Disabilities Act Architectural Guidelines ("ADAAGs"), and the

2010 ADA Standards, incorporated by reference into the ADA.              These regulations impose

requirements pertaining to places of public accommodation, including places of lodging, to ensure

that they are accessible to disabled individuals.

       8.      More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

requirement:

               Reservations made by places of lodging. A public accommodation that owns,
               leases (or leases to), or operates a place of lodging shall, with respect to
               reservations made by any means, including by telephone, in-person, or through a
               third party -
                       (i) Modify its policies, practices, or procedures to ensure that individuals
                       with disabilities can make reservations for accessible guest rooms during
                       the same hours and in the same manner as individuals who do not need
                       accessible rooms;



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                       (ii) Identify and describe accessible features in the hotels and guest rooms
                       offered through its reservations service in enough detail to reasonably
                       permit individuals with disabilities to assess independently whether a
                       given hotel or guest room meets his or her accessibility needs;
                       (iii) Ensure that accessible guest rooms are held for use by individuals
                       with disabilities until all other guest rooms of that type have been rented
                       and the accessible room requested is the only remaining room of that type;
                       (iv) Reserve, upon request, accessible guest rooms or specific types of
                       guest rooms and ensure that the guest rooms requested are blocked and
                       removed from all reservations systems; and
                       (v) Guarantee that the specific accessible guest room reserved through its
                       reservations service is held for the reserving customer, regardless of
                       whether a specific room is held in response to reservations made by
                       others.

       9.      These regulations became effective March 15, 2012.

       10.     Defendant, either itself or by and through a third party, implemented, operates,

controls and or maintains an online reservations system (hereinafter "ORS") for the Property.

The purpose of this ORS is so that members of the public may reserve guest accommodations

and review information pertaining to the goods, services, features, facilities, benefits,

advantages, and accommodations of the Property. As such, the ORS is subject to the

requirements of 28 C.F.R. Section 36.302(e).

        11.            Prior to the commencement of this lawsuit, Plaintiff visited the ORS for

the purpose of reviewing and assessing the accessible features at the Property and ascertain

whether it meets the requirements of 28 C.F.R. Section 36.302(e) and her accessibility needs.

However, Plaintiff was unable to do so because Defendant failed to comply with the

requirements set forth in 28 C.F.R. Section 36.302(e). As a result, Plaintiff was deprived the

same goods, services, features, facilities, benefits, advantages, and accommodations of the

Property available to the general public.



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a.    Findings with third party sites prove not helpful for finding information. There is no

information as to whether the property offers compliant/accessible roll-in showers, tubs, built in

seating, commodes, wrapped pipes, door hardware, compliant furniture, sufficient moving space

and other controls and operating systems. The only third-party site that attempts to site any of

these concerns was as follows:

b.    https://www.hotels.com/ho107979/?q-check-out=2019-12-17&FPQ=2&q-check-

in=2019-12-16 had no information listed as to what makes the room accessible. Hotel

amenities, room types and amenities are all listed in detail. No information was given about the

accessibility in the hotel other than the statements “Accessible bathroom,” “Wheelchair-

accessible path of travel,” “Wheelchair-accessible parking,” “Roll-in shower” and “In-room

accessibility.”




c.    https://www.booking.com/hotel/us/clarion-inn-suites-fairgrounds.html had no

information listed as to what makes the room accessible. Hotel amenities, room types and

amenities are all listed in detail. No information was given about the accessibility in the hotel

other than the statement “Facilities for disabled guests.”

d.    https://www.orbitz.com/Syracuse-Hotels-Quality-Inn-Suites-

Fairgrounds.h20937.HotelInformation?chkin=12%2F16%2F2019&chkout=12%2F17%2F2019,

had no information listed as to what makes the room accessible. Hotel amenities, room types

and amenities are all listed in detail. No information was given about the accessibility in the

hotel other than the statements “Accessible bathroom,” “Wheelchair-accessible path of travel,”


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“Wheelchair-accessible parking,” “Roll-in shower” and “In-room accessibility.



e.https://www.priceline.com/relax/at/39987/from/20191216/to/20191217/rooms/1/?preferredhot

elids=39987, had reference to one room labeled “1 King 1 Bedroom Accessible Suite” with no

information listed as to what makes this room accessible. Hotel amenities, room types and

amenities are all listed in detail. No information was given about accessibility in the hotel other

than the statements “Accessible rooms/facilities” and “Handicapped rooms/facilities”.

f.     https://www.expedia.com/Syracuse-Hotels-Quality-Inn-Suites-

Fairgrounds.h20937.Hotel-Information, had no information listed as to what makes the room

accessible. Hotel amenities, room types and amenities are all listed in detail. No information

was given about the accessibility in the hotel other than the statements “Accessible bathroom,”

“Wheelchair-accessible path of travel,” “Wheelchair-accessible parking,” “Roll-in shower” and

“In-room accessibility.”

       g. https://www.agoda.com/quality-inn-suites-fairgrounds/hotel/seneca-knolls-ny-us.html,

had reference to one room labeled “1 King 1 Bedroom Accessible Suite” with no information

listed as to what makes this room accessible. Hotel amenities, room types and amenities are all

listed in detail. No information was given about accessibility in the hotel other than the statement

“Facilities for disabled guests”.

       12.             In the near future, Plaintiff intends to revisit Defendant's ORS in order to

test it for compliance with 28 C.F.R. Section 36.302(e) and/or to utilize the system to reserve a

guest room and otherwise avail herself of the goods, services, features, facilities, benefits,

advantages, and accommodations of the Property.


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        13.             Plaintiff is continuously aware that the subject ORS remains non-

compliant and that it would be a futile gesture to revisit it as long as those violations exist unless

she is willing to suffer additional discrimination.

        14.             The violations present at Defendant's ORS infringe Plaintiff's right to

travel free of discrimination and deprive her of the information required to make meaningful

choices for travel. Plaintiff has suffered, and continues to suffer, frustration and humiliation as

the result of the discriminatory conditions present at Defendant's ORS. By continuing to operate

the ORS with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation

and segregation and deprives Plaintiff the full and equal enjoyment of the goods, services,

facilities, privileges and/or accommodations available to the general public. By encountering

the discriminatory conditions at Defendant's ORS, and knowing that it would be a futile gesture

to return to the ORS unless she is willing to endure additional discrimination, Plaintiff is

deprived of the same advantages, privileges, goods, services and benefits readily available to the

general public. By maintaining a ORS with violations, Defendant deprives Plaintiff the equality

of opportunity offered to the general public. Defendant's online reservations system serves as a

gateway to its hotel. Because these online reservation systems discriminate against Plaintiff, it is

thereby more difficult to book a room at the hotel or make an informed decision as to whether

the facilities at the hotel are accessible.

        15.             Plaintiff has suffered and will continue to suffer direct and indirect injury

as a result of the Defendant=s discrimination until the Defendant is compelled to modify its ORS

to comply with the requirements of the ADA and to continually monitor and ensure that the

subject ORS remains in compliance.


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       16.             Plaintiff has a realistic, credible, existing and continuing threat of

discrimination from the Defendant=s non-compliance with the ADA with respect to these ORS.

Plaintiff has reasonable grounds to believe that she will continue to be subjected to

discrimination in violation of the ADA by the Defendant.

       17.             The Defendant has discriminated against the Plaintiff by denying her

access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

and/or accommodations of the subject website.

       18.             The Plaintiff and all others similarly situated will continue to suffer such

discrimination, injury and damage without the immediate relief provided by the ADA as

requested herein.

       19.             Defendant has discriminated against the Plaintiff by denying her access to

full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of its place of public accommodation or commercial facility in violation of 42

U.S.C. ' 12181 et seq. and 28 CFR 36.302(e). Furthermore, the Defendant continues to

discriminate against the Plaintiff, and all those similarly situated by failing to make reasonable

modifications in policies, practices or procedures, when such modifications are necessary to

afford all offered goods, services, facilities, privileges, advantages or accommodations to

individuals with disabilities; and by failing to take such efforts that may be necessary to ensure

that no individual with a disability is excluded, denied services, segregated or otherwise treated

differently than other individuals because of the absence of auxiliary aids and services.

       20.             Plaintiff is without adequate remedy at law and is suffering irreparable

harm. Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s fees,


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costs and litigation expenses from the Defendant pursuant to 42 U.S.C. ' 12205 and 28 CFR

36.505.

       21.             Pursuant to 42 U.S.C. ' 12188, this Court is provided with authority to

grant Plaintiff Injunctive Relief, including an order to require the Defendant to alter the subject

ORS to make them readily accessible and useable to the Plaintiff and all other persons with

disabilities as defined by the ADA and 28 C.F.R. Section 36.302(e); or by closing the ORS until

such time as the Defendant cures its violations of the ADA.

                           Count II - Damages Pursuant to NYSHRL

       22.             Plaintiff realleges paragraphs 1-21 as if set forth fully hereunder.

       23.             The NYSHRL provides:

         (a) It shall be an unlawful discriminatory practice for any person, being the owner, lessee,
proprietor, manager, super intendant, agent, or employee of any place of public
accommodation... because of the... disability ... of any person, directly or indirectly, to refuse,
withhold from or deny to such person any of the accommodations, advantages, facilities or
privileges thereof ... to the effect that any of the accommodations, advantages, facilities and
privileges of any such place shall be refused, withheld from or denied to any person on account
of ... disability...
         NYS Exec. Law Section 296(2)(a).

       24.     Under NYS Exec. Law Section 296(2)(c), discrimination includes:

        (i) a refusal to make reasonable modifications in policies, practices, or procedures, when
such modifications are necessary to afford facilities, privileges, advantages or accommodations
to individuals with disabilities, unless such person can demonstrate that making such
modifications would fundamentally alter the nature of such facilities, privileges, advantages or
accommodations;
        (ii) a refusal to take such steps as may be necessary to ensure that no individual with a
disability is excluded or denied services because of the absence of auxiliary aids and services,
unless such person can demonstrate that taking such steps would fundamentally alter the nature
of the facility, privilege, advantage or accommodation being offered or would result in an undue
burden[.]

       25.             Defendant's property is a place of public accommodation as defined by the


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NYSHRL.

       26.                Defendant has violated the NYSHRL

       27.            As a result of Defendant's violation of the NYSHRL, Plaintiff suffered

frustration, humiliation, embarrassment, segregation, exclusion, loss of the equality of

opportunity, and has otherwise been damaged.

       28.            Pursuant to NYS Exec. Law Section 297(9), Plaintiff is entitled to

damages.

       WHEREFORE, Plaintiff respectfully requests:

       a.      The Court issue a Declaratory Judgment that determines that the Defendant at the

commencement of the subject lawsuit is in violation of Title III of the Americans with Disabilities

Act, 42 U.S.C. ' 12181 et seq. and the NYSHRL.

       b.      The Court issue a Declaratory Judgment that determines that the Defendant at the

commencement of the subject lawsuit is in violation of Title III of the Americans with Disabilities

Act, 42 U.S.C. ' 12181 et seq. and 28 C.F.R. Section 36.302(e).

       c.      Injunctive relief against the Defendant including an order to revise its ORS to

comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and maintain the

ORS to ensure that it remains in compliance with said requirement.

       d.      An award of attorney=s fees, costs and litigation expenses pursuant to 42 U.S.C.

               ' 12205.

       e.      An award of damages in the amount of $1000.00 or in such amounts as the Court

               deems just and proper.

       f.      Such other relief as the Court deems just and proper, and/or is allowable under

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         Title III of the Americans with Disabilities Act.


Dated: New York, New York
       March 18, 2020


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                                           /s/ Peter Sverd
                                    By: ___________________________
                                      Peter Sverd, Esq.




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